                                                                                         DISTRICT OF OREGON
                                                                                              FILED
                                                                                           November 08, 2017
                                                                                      Clerk, U.S. Bankruptcy Court
IT IS ORDERED AND NOTICE IS GIVEN THAT:
    (a) The trustee is authorized to compensate the debtor's attorney in the amount requested below
without further notice or order if copies are timely served per (b) unless, within 30 days of the FILED date, a
party files a written objection that sets forth specific grounds for it, with the Clerk of Court, 1001 SW 5th Ave
#700, Portland OR 97204. If the amount requested includes fees for work necessary to complete the case,
and payment of such fees will have any impact on creditor distributions, the trustee is authorized to
compensate the attorney in the amount requested for work necessary to complete the case 21 days after an
itemized bill for the additional work is filed and a copy is served on the debtor unless, within 14 days after
service, a written objection is filed.
    (b) The applicant must comply with all provisions in the court's Notice to Serve Document(s), and must
BOTH (1) properly serve a copy of this document, AND (2) FILE a completed Certificate of Service using a
copy of this document (WITHOUT any attachments).


                                                                        _______________________________________
                                                                                  PETER C. McKITTRICK
                                                                                  U.S. Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                                   )
                                                        )             16-31781-PCM13
                                                            Case No. _______________
Anthony T Stratton                                      )
                                                        )   [ONLY FOR CHAPTER 13 CASES]
                                                        )   APPLICATION BY DEBTOR'S ATTORNEY
                                                        )   FOR SUPPLEMENTAL COMPENSATION;
Debtor(s)                                               )   AND ORDER AND NOTICE THEREON

I, the undersigned debtor's attorney, whose address and phone number are _____________________
1500 SW Bethany Blvd, Ste 288, Beaverton, OR 97006 503-352-3690
_________________________________________________________________________,                           apply for
additional compensation from the debtor's estate for the period from __________
                                                                            06/22/16 to __________
                                                                                             11/07/17 in the
sum of $____________
               741.00       (which is not less than $500 unless this is a final application, and which, if this
                                           0
is a final application, includes $____________     in anticipated additional fees to complete the case), per
the attached itemized billing summary.

I CERTIFY THAT:

    1. This (Check One)           IS      IS NOT my final application for compensation in this case.

    2. I have previously been awarded a total of $____________.
                                                     3,450.00   If granted, the total approved
                                    4,191.00
    compensation amount will be $____________.

1307 (12/1/15) Page 1 of 2

                              Case 16-31781-tmb13           Doc 29   Filed 11/08/17
    3. My Disclosure of Compensation shows the debtor(s) and I agreed to:
       ___ Schedule 2 ___ Schedule 3.

    4. My previous application for compensation (i.e., either the original compensation disclosure or a
    supplemental application) was filed on __________,
                                                05/05/16 which is more than six months from the date of
    this application unless this is my final application.

    5. Allowance of this application will (mark all that apply):
       __ not affect the distribution to creditors.
                                                                      60.00 months.
       __ not change the length of the plan which is estimated at _______
       __ change the length of the plan from an estimated _____ months to an estimated ______
           months.
                                                                 2.00 months.
       __ delay the distribution to creditors by approximately ______
       __ reduce the distribution to general unsecured creditors from an estimated _____%
                                                                                     85.00 to an
                      84.00 %.
           estimated _____
       __ require that the debtor pay more, either by additional or increased plan payments sufficient
           to pay the additional fees.
       __ other: _____________________________________________________________________
          _________________________________________________________________________.

    6. Applicant will file a modified plan within 28 days of allowance of the compensation requested in
    this application if the allowance will otherwise require plan modification.

    7. Applicant declares that, except as explained below, the minimum time billed is not in increments
    that exceed .1 hour (6 minutes), and that any time spent working on multiple matters concurrently
    has been allocated between those matters so that total billings do not exceed the actual time spent:




DATE: __________
        11/07/17                                             _____________________________________
                                                             /s/ Ryan Hackett
                                                             Debtor's Attorney



STOP: BEFORE SERVING COPIES, SUBMIT THE MOTION TO OBTAIN A JUDGE'S ORDER!


                                      CERTIFICATE OF SERVICE

I certify that on ____________ a copy of this application and order thereon (without attachments unless
the order requires service of an economic impact statement on the debtor), and any Notice of Hearing
prepared by the court per the judge’s order, were served on the debtor, and, if amounts requested and
anticipated exceed $1,000, on all creditors who filed claims and entities that filed a request to receive all
case notices.
                                                 _____________________________________________
                                                 Signature & Relation to Applicant
1307 (12/1/15) Page 2 of 2

                            Case 16-31781-tmb13        Doc 29    Filed 11/08/17
                                                  Chapter 13 Post‐Confirmation Fee Itemization
                                         Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006

Client(s): Anthony Stratton       Case No.: 16‐31781
Hourly Rates:
Ryan Hackett (RPH), Attorney: $340/hr
Rosemary Zook (REZ), Attorney: $330/hr
Christy Dickson (CLD), Josh Orem (JRO) Attorney: $200/hr
Cheryl Riley/Terrien (CLR/CLT), Paralegal: $180/hr
Legal Assistant: $110/hr
All Other Staff: $75/hr
    Date                                                Description of Task                                           Staff Time   Rate     Cost
  6/22/2016 I emailed the client information for making a payment to Scappoose for misdemeanor to get Driver          CLT    0.1    170 $     17.00
            License released
  6/22/2016 I had a phone call with Shelby from Cushings office about information for the client to pay               CLT    0.1    170 $     17.00
            misdemeanor.
  6/22/2016 I called Kathy from the City of Scappoose and left a message about needing some additional                CLT      0    170 $          ‐
            information.
  6/22/2016 I emailed the client to confirm he needs to pay $465 to get drivers license back and left a message to    CLT      0    170 $          ‐
            find out where he needs to make the payment.
  6/22/2016 I called Doug Cushing and left a message to get information for client to make a payment on               CLT    0.1    170 $     17.00
            misdemeanor
  6/22/2016 REZ confirmed that client needs to pay $465 to get drivers license back                                   CLT      0    170 $          ‐
  6/22/2016 I emailed the client that he will need to pay $465 for misdemeanor for City of Scappoose to get           CLT    0.1    170 $     17.00
            drivers license released.
  6/23/2016 Kathy with the City of Scappoose called back, I told her drivers license has been released, issue         CLT      0    170 $          ‐
            resolved.
  6/23/2016 the client emailed thank you.                                                                             CLT      0    170 $          ‐
  6/23/2016 I prepped and filed the amended wage order for the step payment per ocp agreement                         CLT    0.2    170 $     34.00

  6/23/2016 The client emailed that his drivers license has been released.                                            CLT      0    170 $          ‐
  6/24/2016 I sent a letter to the client that the case is confirmed.                                                 CLT    0.2    170 $     34.00
  6/24/2016 I received the signed amended wage order from the court, I emailed the client a copy with a heads up CLT         0.1    170 $     17.00
            to watch his paystubs and mail the difference to the trustee until the new amount is withheld.

  6/27/2016 Emails with the client about timing of the new wage order                                                 CLT    0.1    170 $     17.00
  6/30/2016 I received returned mail from Providence. I scanned and gave this to CLR.                                 KDR      0     75 $          ‐
  7/12/2016 I reviewed the returned mail from Providence buisness Office, I prepped and filed a change of             CLT      0    170 $          ‐
            address.
  7/18/2016 I received via ecf a Notice about still needing the financial managment certificate. I sent a letter to   CLT    0.2    170 $     34.00
            the client with this information.
   8/8/2016 I reviewed the claims for the bar date.                                                                   CLT      0    170 $          ‐
  9/30/2016 The client called regarding the wage order garnishment is more from his paycheck than it should be.       KDR      0     75 $          ‐
            He asked if CLR can call him.
  10/3/2016 The client called and said that he got the wage order issue resolved.                                     CLT      0    170 $          ‐
  10/3/2016 I emailed the client about the wage order and amount needs to be taken weekly.                            CLT    0.1    170 $     17.00
  10/3/2016 I tried to call the client back, no answer and no voice mail.                                             CLT      0    170 $          ‐
 10/19/2016 I prepped and filed a proof of claim for IRS.                                                             CLT    0.2    170 $     34.00
 10/19/2016 Phil with the IRS called and confirmed no priortiy tax debts in this case                                 CLT    0.1    170 $     17.00
 10/19/2016 I called Phil at IRS and left a message about the goverment bar date Nov 1st no claim filed, we were      CLT    0.1    170 $     17.00
            expecting one.
  12/5/2016 I received a letter from the trustees office, intent to pay claims, I scanned & gave this to CLR          KDR      0     75 $          ‐

  12/8/2016 I reviewed the trustee's notice of intent to pay claims, I compared confirmed plan against the            CLT    0.1    170 $     17.00
            trustee's site.
 12/22/2016 The client called and said he received a statemnet in the mail, told him to email it so CLR can look it   KDR      0     75 $          ‐
            over.




                                           Case 16-31781-tmb13                  Doc 29         Filed 11/08/17
                                                 Chapter 13 Post‐Confirmation Fee Itemization
                                        Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006
12/23/2016 I reviewed the clients file, I emailed the client about Cowlitz County not listed and that we can file      CLT   0.2   170 $    34.00
           Supp F to add $31 fee, no guarantees
12/23/2016 The client emailed a picture of the bill from Cowlitz County‐ I saved to his file.                          CLT    0    170 $      ‐
  1/4/2017 additional emails with the client regarding the Cowlitz county bill                                         CLT   0.1   180 $    18.00
  1/6/2017 I began prep of the Supp F to add Cowlitz County. I emailed the client that it says the balance due is      CLT   0.1   180 $    18.00
           zero. I advised him to call the County.
 1/11/2017 I sent a letter to the client a reminder to send 2016 returns to our office and net tax refunds go to the   CLT   0.2   180 $    36.00
           trustee.
 1/30/2017 I emailed the client about the collection letter may be a scam, please save any further information         RPH   0.1   340 $    34.00
           from them.
 1/30/2017 I drafted and sent a fax to the Collection attorney about the Multnomah County debt and advised             RPH   0.3   340 $   102.00
           them the cease collection.
 1/30/2017 I received an email from the client and replied regarding the multnomah county collection letter and        RPH   0.2   340 $    68.00
           tax questions. I reviewed the file for Multnomah county debt.
  5/3/2017 The client emailed asking what he is supposed to do with tax returns.                                       CLT    0    180 $      ‐
  5/3/2017 I emailed the client that he can forward his tax returns to our office and we can send them to the          CLT   0.1   180 $    18.00
           trustee and net refunds go to the trustee.
  5/4/2017 The client emailed that he will get tax returns over as soon as possible                                    CLT    0    180 $      ‐
 5/19/2017 I prepared and mailed a letter to the client regarding his post filing tax debts.                           CLT   0.2   180 $    36.00
 5/19/2017 I emailed the client that a copy of his 2016 tax returns have been forwarded to the trustee and about CLT          0    180 $      ‐
           tax debts.
 5/19/2017 I redacted the clients 2016 tax returns and forwarded a copy to the Trustee's office.                 CLT         0.1   180 $    18.00
 5/19/2017 The client emailed a copy of his 2016 tax returns, I saved a copy to his file.                              CLT    0    180 $      ‐
 5/22/2017 I had emails with the client regarding his 2016 tax debt and adjusting his withholdings.                    CLT   0.1   180 $    18.00

 11/7/2017 reviewed file for supplemental attny fees                                                                   KDR    0    75 $     35.00
                                                                                                                                       $   741.00




                                          Case 16-31781-tmb13                  Doc 29          Filed 11/08/17
